Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.570 Page 1 of 11



                            UNITED STATES OF AMERICA

       IN THE WESTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION

Derek Antol, individually and as next friend of          File No: 1:17-cv-613
DSAII, a minor, and Devon S. Antol, and Tryston Antol,
      Plaintiffs,

v.

Adam Dent, Kate Straus,                         Hon. Janet T. Neff
Casey Bringedahl, Casey Trucks,                 U.S. District Court Judge
Pete Kutches, and Western Michigan
Enforcement Team, a public
body organized under the laws of the
State of Michigan,
        Defendants,
___________________________________________________________________/

     PLAINTIFFS' OPPOSITION TO MOTION FOR SUMMARY JUDGMENT BY
         DEFENDANTS DENT, STRAUS, BRINGEDAHL, AND KUTCHES

                        Attachment 10 – deposition of DSA, a minor
Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.571 Page 2 of 11
Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.572 Page 3 of 11
Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.573 Page 4 of 11
Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.574 Page 5 of 11
Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.575 Page 6 of 11
Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.576 Page 7 of 11
Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.577 Page 8 of 11
Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.578 Page 9 of 11
Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.579 Page 10 of 11
Case 1:17-cv-00613-JTN-ESC ECF No. 64-10 filed 10/26/18 PageID.580 Page 11 of 11
